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                IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF VIRGINIA
                         ABINGDON DIVISION

UNITED STATES OF AMERICA                        )
                                                )
                                                )     Case No. 1:08CR00024-011
                                                )
v.                                              )       FINAL ORDER
                                                )
OEDIPUS LAVAR MUMPHREY,                         )     By: James P. Jones
                                                )     United States District Judge
                  Defendant.                    )



       For the reasons set forth in the Opinion accompanying this Final Order, it is

ORDERED that the Motion to Dismiss (ECF No. 2883) is GRANTED; the

defendant’s Motion to Vacate, Set Aside, or Correct Sentence pursuant to 28

U.S.C.A. § 2255 (ECF No. 2823) is DENIED; and the § 2255 proceeding is

stricken from the active docket of the court. Based upon the court’s finding that

the defendant has not made the requisite showing of denial of a substantial right, a

certificate of appealability is DENIED.

                                             ENTER: January 17, 2013

                                             /s/ James P. Jones
                                             United States District Judge
